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                         UNITED STATES DISTRICT COURT
                                 District of Maine

 DANIEL CHASE,                            )
                                          )
        Plaintiff                         )             1:20-cv-00287-JAW
                                          )
  vs.                                     )
                                          )
 JEFFREY KINNEY, DANIEL                   )
 PLACE, DAVID FARRAR, MICHEL              )
 PINA, AND DYLAN HALL, and                )
 CITY OF BANGOR,                          )
                                          )
        Defendants                        )


   DEFENDANTS, CITY OF BANGOR, JEFFREY KINNEY, DANIEL PLACE,

             DAVID FARRAR, MICHAEL PINA, AND DYLAN HALL’S

                    AFFIRMATIVE DEFENSES AND ANSWER TO

             PLAINTIFF, DANIEL CHASE’S AMENDED COMPLAINT



        NOW COME the Defendants, City of Bangor, Jeffrey Kinney, Daniel Place,

David Farrar, Michael Pina, and Dylan Hall (herein after referred to as “Bangor

Defendants”) by and through their counsel, Richardson, Whitman, Large & Badger, and

hereby assert affirmative defenses and answer Plaintiff Daniel Chase’s Amended

Complaint as follows:

        *Note* currently, there is a Recommended Decision dismissing various Parties

and Counts. Defense Counsel Answers for all Defendants in light of the procedural

posture.
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                                        ANSWER

                                     GENERAL DENIAL

       Defendants, Bangor Defendants, deny each and every allegation in the Amended

Complaint, which has not been specifically admitted.

I. Parties to This Complaint

       A.     Plaintiff is listed.

       B.     Defendants are listed. Defense Counsel responds for all Defendants

except for Steven Buzzell.

II. Basis for Jurisdiction

       II. and II. A. Bangor Defendants admit that 42 USC 1983 and the Americans

with Disability Act are Federal Statutes. All other allegations call for a legal conclusion

and, therefore, are denied.

3.     The Amount in Controversy

       Bangor Defendants deny all allegations contained in Paragraph 3, The Amount in

Controversy, of Plaintiff’s Amended Complaint.

III. Statement of Claim

       Bangor Defendants admit Plaintiff Daniel Chase was the subject of a stop by

Bangor Police Department on Broadway, on April 16, 2018.

       1.     Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


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      2.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


      3.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


      4.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


      5.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


      6.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


      7.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


      8.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


      9.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


      10.   Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.




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      11.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


      12.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


      13.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


      14.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


      15.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


      16.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


      17.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


      18.    Bangor Defendants admits, in part, the allegations contained in this

Paragraph of Plaintiff’s Amended Complaint. The Bangor Police Officers are trained.

Bangor Defendants deny all other allegations contained in this Paragraph of Plaintiff’s

Amended Complaint.




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       19.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


       20.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


       21.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


       22.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


       23.    Bangor Defendants deny the allegations contained in this Paragraph of

Plaintiff’s Amended Complaint.


IV. Relief


       Bangor Defendants deny that Plaintiff is entitled to any judgment, damages, or

relief whatsoever against it based upon the alleged claims for relief, including the specific

remedies requested in Plaintiff’s prayer for relief.



                              AFFIRMATIVE DEFENSES

       Defendants, Bangor Defendants, reserve the right to assert, as appropriate at trial,

any of the following affirmative defenses:

       A.     The Amended Complaint, and each of its causes of action, fails to state

              facts sufficient to constitute a cause of action.

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     B.    Plaintiff has waived the right to pursue the Amended Complaint, and each

           of its causes of action, by reason of his own actions and course of conduct.

     C.    Plaintiff may not recover damages in this action because, under the

           circumstances presented, it would constitute unjust enrichment.

     D.    Plaintiff is not entitled to recover any punitive damages, and any allegations

           in support of a claim for punitive damages should be stricken, because the

           acts and omissions alleged are too vague to permit the imposition of

           punitive damages, and because any award of punitive damages in this

           action would violate Defendants’ constitutional rights under the due

           process clauses of the Fifth and Fourteenth Amendments to the United

           States Constitution, and the excessive fines and cruel and unusual

           punishment clauses of the Eighth Amendment to the United States

           Constitution, as well as other provisions of the United States Constitution

           and the Maine Constitution.

     E.    The causes of action fail as to individual Defendants because individual

           employees and/or supervisors cannot be liable for the conduct alleged in

           those claims.

     F.    The Plaintiff’s action is barred because Defendants were unable to

           reasonably accommodate Plaintiff’s alleged disability.

     G.    The Amended Complaint, and each of its causes of action, is barred

           because all of Defendants’ actions with respect to Plaintiff were taken



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             solely for legitimate, reasons unrelated to any alleged protected expression

             or activity by Plaintiff or any alleged discrimination retaliation.

      H.     Defendants are entitled to qualified immunity for allegations contained in

             the Amended Complaint.

      I.     Defendants are entitled to immunity for allegations contained in the

             Amended Complaint.

      J.     Plaintiff’s Amended Complaint is barred by the applicable Statute of

             Limitations.

      K.     The Plaintiff’s Amended Complaint is barred by the doctrine of waiver.

      L.     The Plaintiff’s Amended Complaint is barred for lack of notice.

      M.     The Plaintiff’s Amended Complaint is barred due to

      Insufficiency of Process and/or Insufficiency of Service of Process.

      N.     Defendants have at all times acted fairly, in good faith, with due care, and

             in accordance with law.



      WHEREFORE, Bangor Defendants, respectfully request that the Court dismiss

with prejudice and/or deny Plaintiff’s Amended Complaint in its entirety as against them




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and enter judgment in these Defendants’ favor and award costs, attorneys’ fees, and such

other and further relief as the Court deems just and proper.


DATED:        April 15, 2021              /s/ Frederick F. Costlow

                                          Frederick F. Costlow, Esq. (Bar No. 3823)
                                          Richardson Whitman Large & Badger
                                          One Merchants Plaza, Suite 302
                                          PO Box 2429
                                          Bangor, ME 04402-2429
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                                          Attorney for Bangor Defendants




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                            CERTIFICATE OF SERVICE

      This is to certify that on this 15th day of April 2021, Bangor Defendants’

Affirmative Defenses and Answer to Plaintiff, Daniel Chase’s Amended Complaint was

electronically filed with the Court using the CM/ECF system, which will see that a

conformed copy of this filing will be served upon the following:


1.    Daniel Chase, Pro Se Plaintiff
By Regular U.S. Mail at:
Daniel Chase
177 Brann Road
Levant, ME 04456

2.     Frederick F. Costlow, Esq.; Attorney for Bangor Defendants; VIA EMAIL at
fcostlow@rwlb.com.
                                         /s/ Frederick F. Costlow

                                         Frederick F. Costlow, Esq. (Bar No. 3823)
                                         Richardson Whitman Large & Badger
                                         One Merchants Plaza, Suite 302
                                         PO Box 2429
                                         Bangor, ME 04402-2429
                                         (207) 945-5900; fcostlow@rwlb.com

                                         Attorney for Bangor Defendants




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